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 8                                UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                    SAN FRANCISCO DIVISION

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12   IN RE: SOCIAL MEDIA ADOLESCENT                         MDL No. 3047
     ADDICTION/PERSONAL INJURY
13   PRODUCTS LIABILITY LITIGATION                          CASE NO.: 4:22-md-03047-YGR

14                                                          Honorable Thomas S. Hixson

15   This Filing Relates to:                                [PROPOSED] ORDER GRANTING
                                                            STIPULATED REQUEST FOR
16                                                          ORDER CHANGING TIME
     ALL ACTIONS
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19          Pursuant to the parties’ stipulation, the deadline to submit a joint proposed ESI Protocol

20   or letter briefing regarding disputes over that order is extended to August 10, 2023.

21          PURSUANT TO STIPULATION, IT IS SO ORDERED.

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23   DATED:                                                ___________________________________
                                                           Hon. Thomas S. Hixson
24                                                         United States Magistrate Judge
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     [PROPOSED] ORDER                                                                  4:22-MD-03047-YGR
